                                        IN THE
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
                Plaintiff,                      )
                                                )
 v.                                             )       Criminal No. 4:18-CR-00011
                                                )
 ASHLEY TIANA ROSS,                             )
                                                )
                Defendant.                      )

                             MOTION FOR BILL OF PARTICULARS

        Defendant Ashley Tiana Ross, by counsel, moves this Court pursuant to Rule 7(f) of the

 Federal Rules of Criminal Procedure for an order directing the government to provide the

 following particulars pertaining to the indictment filed herein against Ms. Ross:

        (1)     On June 11, 2018, the United States filed a twenty-two count indictment against ten

 persons, including defendant Ashley Tiana Ross [ECF No. 5]. The Counts applicable to Ross are:

 (a) Count 8, Accessory After the Fact; (b) Count 9, Obstruction of Justice – Tampering with

 Proceedings; (c) Count 10, Obstruction of the Due Administration of Justice; and, (d) Counts 13

 through 21, False Declarations Before Grand Jury.

        (2)     Ross intends to file a motion to sever trial of her case from that of her codefendants,

 many of whom are career felons who are charged with extremely serious crimes, including capital

 murder and various racketeering offenses. In contrast, Ross is a 22 year old life-long resident of

 Danville, Virginia and the mother of two young children with no criminal history whatsoever. At a

 recent status conference on August 31, 2018, Ross informed the Court that she plans to file a motion

 for severance. The Court responded that a likely focal point of that motion would be the accessory

 after the fact charge (Count 8); therefore, it appeared to defendant that it was important to the Court


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 that the motion provide the factual basis for the charge. But the indictment does not state the factual

 basis for the charge; only the United States knows the factual basis for the charge. Ross has asked

 the United States to provide the factual basis for the charge, but to date, it has not. Without this

 information, Ross cannot provide to the Court the requested information.

        (3)       To provide due process and enable Ross to prepare adequately the motion for

 severance and for trial, Ross asks that this Court enter an order compelling the United States to

 provide the following particulars concerning the alleged crime:

               (a) State all facts that support the charge that Ross served as an accessory after the

               fact and obstructed justice.

        WHEREFORE, Ashley Tiana Ross moves for entry of an order compelling the United

 States to provide the particulars, or in the alternative, to dismiss the referenced Count of the

 indictment.

                                                        Respectfully submitted,

                                                        ASHLEY TIANA ROSS

                                                        By      /s/Terry N. Grimes
                                                               Of Counsel

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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was electronically filed with the Clerk of the

 Court using the CM/ECF system, and that a true and accurate copy of the foregoing was sent via the

 CM/ECF system to all counsel of record, on the 7th day of August, 2018.

                                                             /s/ Terry N. Grimes
                                                                 Terry N. Grimes




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